                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:02-CR-015-FDW-DCK-1

 UNITED STATES OF AMERICA,                            )
                                                      )
                                Plaintiff,            )
                                                      )
 vs.                                                  )
                                                      )
                                                      )
 PHYLLIS HURLEY SIDES,                                )
                                                      )
                                Defendant,            )
                                                      )
 and                                                  )
                                                      )
                                                      )
 ESTES EXPRESS LINES,                                 )
                                                      )
                                Garnishee.            )

                        ORDER OF CONTINUING GARNISHMENT

       THIS MATTER IS BEFORE THE COURT upon the Answer of Estes Express Lines as

the Garnishee. Judgment in the criminal case was filed on March 13, 2003 (Document No. 19).

As part of that Judgment, the Defendant was ordered to pay an assessment of $300.00 and

restitution of $156,385.48 to the victim of the crime. Id.

       On May 12, 2022, the Court entered a Writ of Continuing Garnishment (“Writ”)

(Document No. 38) to the Garnishee, Estes Express Lines. The Defendant was served with the

Writ on May 16, 2022, and the Garnishee was served on May 17, 2022. The Garnishee filed an

Answer on May 31, 2022 (Document No. 41) stating that at the time of the service of the Writ, the

Garnishee had in its custody, control or possession property or funds owned by the Defendant,

including non-exempt, disposable earnings.




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        IT IS, THEREFORE, ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $143,032.96 computed through May 11, 2022. The Garnishee shall

pay the United States up to twenty-five percent of the Defendant’s net earnings which remain after

all deductions required by law have been withheld, and the Garnishee shall continue said payments

until the debt to the Plaintiff is paid in full, or until the Garnishee no longer has custody, possession

or control of any property belonging to the Defendant, or until further Order of this Court.

        Payments should be made payable to the United States Clerk of Court and mailed to:

                              Clerk of the United States District Court
                                       401 West Trade Street
                                  Charlotte, North Carolina 28202

        In order to ensure that each payment is credited properly, the following should be included

on each check: Court Number DNCW3:02CR15.

        IT IS FURTHER ORDERED that the Garnishee will advise this Court if the Defendant’s

employment is terminated at any time by the Garnishee or the Defendant.

        The Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the Defendant would normally receive may

be offset and applied to this debt.

        SO ORDERED.                   Signed: June 23, 2022




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